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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

                                                        )
  M.B. COTTINGHAM,                                      )
                                                        )
                 Plaintiff,                             )
                                                        )      Case No. 1:18-cv-01684 (ESH)
            v.                                          )
                                                        )
  SEAN LOJACONO                                         )
                                                        )
                 Defendant.                             )
                                                        )

                       NOTICE OF WITHDRAWAL APPEARANCE

       The Clerk of the Court will please note the withdrawal of Assistant Attorney General Robert

A. DeBerardinis, Jr. as counsel for Defendant Sean Lojacono.

                                     Respectfully submitted,

                                     KARL A. RACINE
                                     Attorney General for the
                                     District of Columbia

                                     GEORGE C. VALENTINE
                                     Deputy Attorney General
                                     Civil Litigation Division

                                     /s/ Michael K. Addo
                                     MICHAEL K. ADDO [#1008971]
                                     Chief, Civil Litigation Division, Section IV

                                     _/s/ Robert A. DeBerardinis, Jr.
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